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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK



   RUBEN WILLS,
                                                        Case No. 1: 20-cv-04432-BMC-VMS
                         Plaintiff,
                                                            PROTECTIVE ORDER
                  -against-

   MICROGENICS CORPORATION, THERMO
   FISHER SCIENTIFIC, INC., ACTING
   COMMISSIONER ANTHONY J. ANNUCCI,
   AND SUPERINTENDENT DELTA
   BAROMETRE, SUPERINTENDENT FOR
   PROGRAMS MITCHELL, LIEUTENANT
   MCCREY, LIEUTENANT WOODBURY, AND
   CAPTAIN DOE,

                         Defendants.


                 WHEREAS, parties in this action, and in the related class-action Steel-Warrick v.

  Microgenics, et al., 19-cv-06558-FB-VMS, have produced and will be required to produce in the

  future certain documents and information that they may deem to be confidential or otherwise

  inappropriate for public disclosure; and

                 WHEREAS, the parties seek to ensure that the confidentiality of these documents

  and information remains protected; and

                 WHEREAS, good cause therefore exists for the entry of an order pursuant to Rule

  26(c) of the Federal Rules of Civil Procedure;

                 THE COURT HEREBY ORDERS THAT:

  Designation of Discovery Materials as Confidential

                 1.     This Protective Order shall apply to, and govern, all confidential

  information, as defined in Paragraph 3 herein (“Confidential Material”). This Confidential

  Material could include: (a) information disclosed in depositions; (b) documents produced in
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  response to requests for production of documents; (c) answers to interrogatories; (d) responses to

  requests for admissions; (e) all other discovery in any form; and (f) all copies thereof and

  information contained therein.

                 2.      When used in this Protective Order, the phrase “Disclosing Party” shall refer

  to any person or entity producing Confidential Material, and the phrase “Receiving Party” shall

  refer to any person or entity receiving Confidential Material from a Disclosing Party.

                 3.      A Disclosing Party may designate as “CONFIDENTIAL” any information,

  whether or not embodied in any physical or electronic medium, that the Disclosing Party believes

  in good faith constitutes (a) information that must be maintained in confidence pursuant to a

  confidentiality agreement, contractual provision, or court order; (b) trade secrets, proprietary

  business information, competitively sensitive information, or other similar information not

  generally known the public disclosure of which would, in the good faith judgment of the Party

  designating the material as confidential, be detrimental to the conduct of that Party’s business or

  the business of any of that Party’s customers or clients; (c) information that identifies putative class

  members other than Plaintiff (e.g., names, personal addresses, phone numbers, e-mail addresses,

  birth dates); (d) medical, psychological, or mental health records and other medical information;

  or (e) social security numbers, dates of birth, and personal financial information.

                 4.      All transcripts of depositions taken in this Action will be treated as

  Confidential Material in their entirety for fourteen (14) days after being notified that a full and

  final copy of the deposition transcript is available. During that fourteen (14) day period, any party

  may designate as Confidential Material any portion of the transcript, by page and line, and any

  deposition exhibits related to the subject areas described in Paragraph 3 herein, and such

  designation must be provided to all counsel in writing to be deemed effective. Any portion of the

  deposition transcript or exhibits not so designated during the fourteen (14) day period will not be
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  treated as Confidential Material.

                5.       Confidential Material shall be treated as Confidential and not disclosed,

  except to the extent provided in this Protective Order or as otherwise ordered by the Court.

  Who May Receive Confidential Material & Use Limitations

                  6.     Confidential Material subject to this Protective Order may be used only for

  purposes of this Action and shall not be disclosed by the Receiving Party to anyone other than

  those listed in Paragraph 9 herein, except by prior written agreement of the Parties or by order of

  the Court. Any person receiving Confidential Material shall use reasonable measures to store and

  maintain the Confidential Material so as to prevent unauthorized disclosure. Reasonable measures

  include, but are not limited to, taking any necessary action to maintain the security and integrity

  of data and files.

                  7.     Persons to whom Confidential Material is disclosed per Paragraph 9 herein

  shall be informed, prior to being shown materials marked as “CONFIDENTIAL” that he/she (i) is

  being shown such materials solely for use in this Action, and (ii) shall not retain any documents

  marked as “CONFIDENTIAL” after the termination of this Action.

                  8.     The recipient of any Confidential Material that is provided under this

  Protective Order shall maintain such material under direct control of counsel for the Receiving

  Party, who shall use reasonable efforts to prevent any disclosure thereof, except in accordance with

  the terms of this Protective Order. All copies, reproductions, summarizations, extractions, and

  abstractions of the Confidential Material shall be subject to the terms of this Protective Order and

  labeled in the same manner as the designated material upon which they are based.

                  9.     In the absence of an order of the Court, Confidential Material may be

  disclosed or made available only to the following persons:

                         a.     The named parties to this Action and the attorneys working on this
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                         Action on behalf of any party, in-house/agency attorneys, paralegals and

                         staff, stenographic and clerical employees, and contractors working under

                         the direct supervision of such counsel;

                         b.       Any expert or consultant who is expressly retained by any attorney

                         described in Paragraph 10(a) to assist in this Action, and their employees,

                         with disclosure only to the extent reasonably necessary to perform such

                         work;

                         c.       Any deponent in this matter if:

                                   i.         it appears that the deponent authored or received a copy of

                                              the Confidential Material;

                                        ii.       it appears that the deponent was involved in the subject

                                              matter described therein;

                                 iii.         the deponent is employed by the Disclosing Party; or

                                 iv.          the Disclosing Party consents in writing to such disclosure.

                         d.       The Court, jury, court personnel, court reporters, and other persons

                         connected with the Court; and

                         e.       Any other person whom the Disclosing Party agrees in writing may

                         have access to such Confidential Material.

                 10.     The persons described in Paragraphs 9(b), 9(c), and 9(e) herein shall have

  access to the Confidential Material only after: (a) counsel retaining, representing, interviewing, or

  deposing those persons has provided a copy of this Protective Order to such persons for review;

  and (b) those persons manifest their assent to be bound by the provisions of this Protective Order

  by signing a copy of the annexed “NONDISCLOSURE AGREEMENT.” Counsel shall produce a

  copy of any executed “NONDISCLOSURE AGREEMENT” to opposing counsel upon request
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  prior to such person being permitted to testify (at deposition or trial) in the Action or at the

  conclusion of the Action, whichever comes first, except that counsel need not produce a

  “NONDISCLOSURE AGREEMENT” executed by any expert or consultant retained only for

  consulting purposes. Counsel shall retain copies of the signed “NONDISCLOSURE

  AGREEMENT” until the completion of this Action and the return or destruction of Confidential

  Material in accordance with Paragraph 27 herein.

  Designating and Producing Confidential Material

                 11.     Other than deposition transcripts and exhibits, the Disclosing Party or

  counsel thereof shall designate Confidential Material by stamping or otherwise clearly marking as

  “CONFIDENTIAL” the material in a manner that will not interfere with legibility or audibility.

                 12.     If a Disclosing Party has designated a document or information as

  “CONFIDENTIAL” that Disclosing Party may remove such document or information from the

  scope of that protection by notifying all Parties in writing and re-producing the document or

  information without such designation.

                 13.     If the Disclosing Party has designated a document or information as

  “CONFIDENTIAL,” the Disclosing Party must simultaneously deliver a second set of that

  document or information to the Receiving Party on which the Disclosing Party has specifically

  redacted the Confidential Material.

  Objecting to Confidentiality Designations

                 14.     In the event a Party disagrees at any stage of this Action with any

  “CONFIDENTIAL” designation, such Party shall provide to the Disclosing Party, or to the Party

  that has designated a deposition transcript or portion thereof as Confidential Material, written

  notice of its disagreement with the designation, describing with particularity the Confidential

  Material in question, and stating the grounds for objection. The Disclosing Party, or the Party that
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  has designated a deposition transcript or portion thereof as Confidential Material, shall respond to

  the objection in writing within fourteen (14) days and shall state with particularity the grounds for

  asserting that the Confidential Material is properly designated. If no written response to the

  objection is made within fourteen (14) days, the challenged designation shall be deemed void. If a

  timely written response to the objection is made, counsel for the Parties shall first try to resolve

  the dispute in good faith by meeting and conferring. If the dispute cannot be resolved, the

  Disclosing Party may request appropriate relief from the Court consistent with the Court’s

  discovery rules with seven (7) days of the Parties meet and confer, otherwise the challenged

  designation shall be deemed void. The burden shall be on the Disclosing Party, or the party that

  has designated a deposition transcript or portion thereof as Confidential Material, to make an

  adequate showing to the Court that the challenged designation (“CONFIDENTIAL” ) is

  appropriate.

  Filing Confidential Material in this Action and Use at Trial

                 15.     The Parties shall seek to file information marked “CONFIDENTIAL” under

  seal, in accordance with Magistrate Judge Scanlon’s Rule I.g. A Party shall not file on the Official

  Court Electronic Document Filing System (ECF) any sealed, redacted, or Confidential Material

  without first seeking permission from the Court to file such documents under seal. To comply with

  Court deadlines, provided they are timely served, the papers containing Confidential Material shall

  be deemed to be filed on the date the Party delivers them to Chambers for review of the proposed

  redactions.

                 16.     Any documents designated as “CONFIDENTIAL” that are designated in

  advance by any Party as proposed trial exhibits, either pursuant to applicable pretrial procedures

  or otherwise, may be offered into evidence in open court after such Party gives notice to the

  Disclosing Party that designated them as “CONFIDENTIAL” and affords such Disclosing Party

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  with at least ten (10) days (or less, with leave of Court) to obtain an appropriate protective order

  from the Court.

  Notice of Breach

                 17.     If Confidential Material is disclosed to any person other than in the

  manner authorized by this and Protective Order, the person or Party responsible for the

  unauthorized disclosure must, within five (5) days of discovering the disclosure, bring all

  pertinent facts relating to such disclosure to the attention of the Disclosing Party and, without

  prejudice to any other rights and remedies of the Parties or third parties, make every effort to

  prevent further disclosure by it or by the person who was the unauthorized recipient of such

  material, and seek prompt return or destruction of the Confidential Material from the

  unauthorized recipient.

  Clawback of Confidential Material

                 18.     If at any time prior to the termination of this Action, a Party realizes that it

  has produced Confidential Material without designating it as such, that Party may designate such

  material as “CONFIDENTIAL” by promptly notifying the Parties in writing. The notification must

  designate the Confidential Material as “CONFIDENTIAL” according to this Protective Order.

  Such material will thereafter be treated as Confidential Material under the terms of this Protective

  Order. The Disclosing Party shall provide the Parties with replacement versions of such

  Confidential Material and follow the designation requirements of Paragraph 11 within ten (10)

  business days of providing such notice.

  Rights, Limitations, and Modifications

                 19.     Compliance with the terms of this Protective Order shall not operate as an

  admission that any particular document or information is or is not responsive, privileged, reflective

  of personally-identifiable information, or admissible in this Action.

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                 20.     Nothing in this Protective Order overrides any attorney’s ethical

  responsibilities to refrain from examining or disclosing materials that the attorney knows or

  reasonably should know to be privileged and to inform the Disclosing Party that such materials

  have been produced. Nothing contained herein will prevent, limit, or restrict the Parties in any way

  from objecting to or asserting an immunity or privilege in any prior or subsequent litigation with

  respect to any material produced in this Action. Nothing herein is intended to limit a Party’s right,

  if any, to properly redact information that is privileged or otherwise Confidential Material prior to

  disclosure.

                 21.     Nothing contained herein is intended to or shall serve to limit a Party’s right

  to conduct a review of documents and related information (including metadata) for responsiveness,

  personally-identifiable information, and/or any privilege or protection recognized by law prior to

  production and/or disclosure.

                 22.     This Protective Order may be changed only by further agreement of the

  Parties in writing or by order of the Court and is without prejudice to the right of any Party to seek

  modification or judicial relief of this Protective Order by application to the Court on notice to

  counsel for the other Party.

                 23.     This Protective Order shall remain in full force and effect until modified,

  superseded, or terminated either by consent of the Parties, or by order of the Court.

  Right to Assert Other Objections

                 24.     This Protective Order shall not be construed to waive or diminish any right

  to assert a claim of privilege or an objection of relevance, overbreadth, proportionality, or other

  grounds for not producing material requested during discovery. Access to all material (whether or

  not designated as “CONFIDENTIAL”) shall be granted only as provided by the discovery rules

  and other applicable law.
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  Severability

                 25.     The invalidity or unenforceability of any provision of this Protective Order

  shall not affect the validity or enforceability of any other provision of this Protective Order, which

  shall remain in full force and effect.

  Termination of the Litigation

                 26.     This Protective Order shall survive the termination of this Action, including

  any and all appeals, and remain in full force and effect unless modified by an order of this Court.

                 27.     Within sixty (60) days of the termination of this Action, including final

  appellate action or the expiration of time to appeal or seek further review, all Confidential Material

  that has been designated in accordance with all of the requirements of Paragraph 11 herein, and all

  copies, reproductions, summarizations, extractions, and abstractions thereof, shall be returned to

  the Disclosing Party or destroyed. Notwithstanding the foregoing, counsel may retain Confidential

  Materials that (i) constitute attorney-work product, (ii) were filed with the Court and/or marked as

  trial exhibits, or (iii) constitute deposition transcripts and exhibits, provided that such counsel

  otherwise comply with the provisions of this Protective Order with respect to such retained

  material.

                 28.     This Court shall retain jurisdiction over all persons subject to this Protective

  Order for so long as such persons have Confidential Material and to the extent necessary to enforce

  ORDERED:


   Dated: New York, New York
          January __, 2020

                                                       __________________________________
                                                       Hon. Vera M. Scanlon




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK



   RUBEN WILLS,
                                                          Case No. 1: 20-cv-04432-BMC-VMS
                         Plaintiff,
                                                                AGREEEMENT TO
                  -against-
                                                               PROTECTIVE ORDER
   MICROGENICS CORPORATION, THERMO
   FISHER SCIENTIFIC, INC., ACTING
   COMMISSIONER ANTHONY J. ANNUCCI,
   AND SUPERINTENDENT DELTA
   BAROMETRE, SUPERINTENDENT FOR
   PROGRAMS MITCHELL, LIEUTENANT
   MCCREY, LIEUTENANT WOODBURY, AND
   CAPTAIN DOE,

                         Defendants.


  I, _______                                                   , state that:

           1.    My personal / work (circle one) address is                                       _.

           2.    My present employer, if applicable, is ____                                  .

           3.    I have received a copy of the PROTECTIVE ORDER (the “Protective Order”)

  entered in the above-entitled action on ____                                                    .

           4.    I have carefully read and understand the provisions of the Protective

  Order.

           5.    I will comply with all of the provisions of the Protective Order.

           6.    I will hold in confidence, will not disclose to anyone not qualified under the

  Protective Order, and will use only for purposes of this Action, any Confidential Material that is

  disclosed to me.

           7.    I will return all Confidential Material that comes into my possession, and


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  documents or things that I have prepared relating thereto, to counsel for the party by whom I am

  employed or retained, or to counsel from whom I received the Confidential Material.

         8.      I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

  the Protective Order in this Action, and I understand that my willful violation of any term of the

  Protective Order could subject me to punishment for contempt of Court.




  ____________________________
  (Signature)



  ____________________________
  (Printed Name)



  Dated: _____                      _




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